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 4
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 6

 7                          IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,           )       2:07-CR-00248-15 WBS
                                         )
11                           Plaintiff, )
                                         )       STIPULATION AND PROPOSED
12   v.                                  )       ORDER TO MODIFY BRIEFING
                                         )       SCHEDULE
13                                       )
     DAVID PEREZ RAMIREZ,                )
14                                       )
                             Defendant. )
15   ___________________________________ )

16           On July 16, 2015, Defendant, DAVID PEREZ RAMIREZ, filed a pro se motion

17   to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2).     CR 1345.

18   Thereafter, undersigned counsel was appointed to represent Mr. Ramirez.      CR

19   1349.    On November 16, 2015, pursuant to the stipulation of the parties, the

20   Court set a briefing schedule, which would permit the defense to file an

21   amended motion to reduce sentence.    CR 1366.   For the reasons set forth

22   below, the parties file this stipulated request to vacate the current

23   briefing schedule and re-set a new briefing schedule as follows:

24           Amended motion to reduce sentence          February 5, 2016

25           Government’s opposition                    February 19, 2016

26           Defendant’s reply, if any                  February 26, 2016

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                  STIPULATION AND PROPOSED ORDER TO MODIFY BRIEFING SCHEDULE - 1
           Case 2:07-cr-00248-WBS Document 1370 Filed 12/07/15 Page 2 of 3


 1         Mr. Ramirez entered his guilty plea pursuant to Federal Rule of

 2   Criminal Procedure 11(c)(1)(C).   CR 801.   In United States v. Austin, 676

 3   F.3d 924 (9th Cir. 2012), the Ninth Circuit held that an 11(c)(1)(C) binding

 4   plea agreement must make clear the particular Guideline range on which the

 5   defendant’s sentence was based in order for the defendant to be eligible for

 6   a reduction under 18 U.S.C. § 3582(c)(2).    The Austin court based its holding

 7   on Justice Sotomayor’s opinion in Freeman v. United States, 131 S. Ct. 2685

 8   (2011)(a fractured 4-1-4 opinion), concluding that such opinion is the

 9   controlling opinion of the United States Supreme Court pursuant to Marks v.

10   United States, 430 U.S. 188 (1977) (“Justice Sotomayor’s concurrence is the

11   controlling opinion because it reached this conclusion [that a (c)(1)(C)

12   agreement did not bar eligibility for a sentence reduction] on the ‘narrowest

13   grounds.’” Austin, 676 F. 3d at 927-28). In January 2015, the Ninth Circuit

14   affirmed Austin in United States v. Davis, 776 F.3d 1088 (9th Cir. 2015), in

15   a 2-1 opinion. The defense does not dispute that Ninth Circuit law under

16   Austin and Davis precludes a reduction in Mr. Ramirez’s case based on the

17   fact that his binding plea agreement does not contain reference to a

18   particular guideline range as the basis for sentence.

19         However, in her concurrence in Davis, Judge Berzon called for en banc

20   review to consider whether Austin was correctly decided. Davis, 776 F.3d at

21   1091. The Ninth Circuit granted en banc review of Davis on August 6, 2015,

22   and heard oral argument on September 10, 2015, but has not yet issued a

23   ruling.   If this Circuit rejects Austin’s finding that Justice Sotomayor’s

24   opinion controls on the very issue barring Mr. Ramirez from the requested

25   relief, the Ninth Circuit may fashion a new and different rule that would be

26   applicable to Mr. Ramirez's case. In other words, the parties respectfully

27   submit that this Court should await the resolution of the petition for en

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                STIPULATION AND PROPOSED ORDER TO MODIFY BRIEFING SCHEDULE - 2
              Case 2:07-cr-00248-WBS Document 1370 Filed 12/07/15 Page 3 of 3


 1   banc review in Davis to ascertain the law to be applied to Mr. Ramirez’s

 2   motion for a sentence reduction.

 3            Therefore, the parties respectfully stipulate and respectfully request

 4   that this Court modify the briefing schedule as set forth above.

 5   Dated: December 4, 2015                        BENJAMIN WAGNER
                                                    United States Attorney
 6
                                            By:      /s/ Jason Hitt
 7                                                  JASON HITT
                                                    Assistant United States Attorney
 8

 9
     Dated: December 4, 2015                        /s/ Erin J. Radekin
10                                                  ERIN J. RADEKIN
                                                    Attorney for Defendant
11                                                  DAVID PEREZ RAMIREZ

12
                                            ORDER
13
              Pursuant to the parties’ stipulation, and good cause appearing, it is
14
     hereby ordered that the briefing schedule relating to defendant’s motion
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     pursuant to § 3582(c)(2) be modified as follows:
16
              Amended motion to reduce sentence           February 5, 2016
17
              Government’s opposition                     February 19, 2016
18
              Defendant’s reply, if any                   February 26, 2016
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     Dated:     December 7, 2015
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                   STIPULATION AND PROPOSED ORDER TO MODIFY BRIEFING SCHEDULE - 3
